                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 20-00020-DPC
SCOTTSDALE PET SUITE LLC                                                                                               Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: estrellam                                                             Page 1 of 3
Date Rcvd: Oct 01, 2020                                               Form ID: pdf001                                                           Total Noticed: 43
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 03, 2020:
Recip ID                   Recipient Name and Address
db                     +   SCOTTSDALE PET SUITE LLC, c/o Christopher W. Demuth, 8407 East Orange Blossom Lane, SCOTTSDALE, AZ 85250-7424
cr                     +   DeRito Talking Stick South, LLC, c/o Lane & Nach, P.C., 2001 East Campbell Avenue, Suite 103, Phoenix, AZ 85016-5573
16130506               +   ADP TEMPE, 111 W. RIO SALADO PKWY, TEMPE, AZ 85281-2878
16130507               +   ALTUS RECEIVABLES MANAGEMENT, 2400 VETERANS MEMORIAL BLVD., STE 300, KENNER, LA 70062-8725
15907545               +   AMERICAN ARBITRATION ASSOCIATION, 1301 ATWOOD AVENUE, SUITE 211N, JOHNSTON RI 02919-4946
15907546                   AMERICAN EXPRESS, PO BOX 981535, EL PASO TX 79998-1535
15949897               +   American Express National Bank, AENB, c/o Zwicker and Associates, P.C., Attorneys/Agents for Creditor, P.O. 9043, Andover, MA
                           01810-0943
15907548                   BANKERS HEALTHCARE GROUP, LLC, PO BOX 332509, MURFREESBORO TN 37133-2509
15919383               +   Bankers Healthcare Group co Pinnacle Bank, 150 3rd Ave S, Ste 900, Nashville, TN 37201-2034
15907553                   CHRISTOPHER & REBECCA DEMUTH, 8407 E ORANGE BLOSSOM LN, SCOTTSDALE AZ 85250-7424
15907555               +   CJC LAW OFFICE, CHRISTOPHER J. CALI, ESQ., 201 SOLAR STREET, SYRACUSE NY 13204-1425
15907556               +   DERITO TALKING STICK SOUTH, LLC, 9120 E TALKING STICK WY, STE E1, SCOTTSDALE AZ 85250-8512
15980452               +   DeRito Talking Stick South LLC,, successor to DeRito Pavilions 140, L.L.C, c/o Adam B. Nach, Esq., Lane & Nach, P.C., 2001 East
                           Campbell Avenue, Suite 103 Phoenix, AZ 85016-5573
15933613                   FC MARKETPLACE, LLC, C/O BECKET AND LEE LLP, PO BOX 3002, MALVERN PA 19355-0702
15907559                   FUNDING CIRCLE USA, INC, PO BOX 398383, SAN FRANCISCO CA 94139-8383
15907560               +   FUNDING CIRCLE USA, INC., PO BOX 1719, PORTLAND OR 97207-1719
15907561               +   FUSELIER & ASSOCIATES FINANCIAL, 637 PRESIDENTIAL DRIVE, RICHARDSON TX 75081-2928
15957835               +   JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison, Texas
                           75001-9013
15984422               +   JPMorgan Chase Bank, N.A., c/o Ball, Santin & McLeran, PLC, 2999 N. 44th Street, Suite 500, Phoenix, AZ 85018-7252
15907567               +   LANE & NACH, P.C., ATTN: ADAM NACH, ESQ., 2001 E CAMPBELL AVE, STE 103, PHOENIX AZ 85016-5573
15907569               +   SADDLEBACK COMMUNICATIONS, 10190 E. MCKELLIPS ROAD, SCOTTSDALE AZ 85256-5611
16130505                   SRP, P.O. BOX 52025, PHOENIX, AZ 85072-2025
15907572                   ZWICKER & ASSOCIATES, P.C., 80 MINUTEMAN RD., ANDOVER MA 01810-1008

TOTAL: 23

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: bankruptcynotices@azdor.gov
                                                                                        Oct 02 2020 02:05:00      ARIZONA DEPARTMENT OF REVENUE,
                                                                                                                  ATTENTION BK PAYMENT UNIT, c/o 2005 N
                                                                                                                  CENTRAL AVE, SUITE 100, PHOENIX, AZ
                                                                                                                  85004-1546
15907547               + Email/Text: bankruptcynotices@azdor.gov
                                                                                        Oct 02 2020 02:05:00      ARIZONA DEPT. OF REVENUE, C/O TAX,
                                                                                                                  BANKR & COLLECTION SECT., 2005 N.
                                                                                                                  CENTRAL AVE, STE 100, PHOENIX AZ
                                                                                                                  85004-1546
15907550                   Email/Text: bankruptcy@bhg-inc.com
                                                                                        Oct 02 2020 02:05:00      BANKERS HEALTHCARE GROUP, LLC,
                                                                                                                  10234 W STATE ROAD 84, DAVIE FL 33324
15907549                   Email/Text: bankruptcy@bhg-inc.com
                                                                                        Oct 02 2020 02:05:00      BANKERS HEALTHCARE GROUP, LLC, 201
                                                                                                                  SOLAR STREET, SYRACUSE NY 13204
15907551                   Email/Text: cms-bk@cms-collect.com
                                                                                        Oct 02 2020 02:06:00      CAPITAL MANAGEMENT SERVICES, LP, 698
                                                                                                                  1/2 SOUTH OGDEN ST, BUFFALO NY
                                                                                                                  14206-2317



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                              Imaged Certificate of Notice Page 1 of 4
District/off: 0970-2                                               User: estrellam                                                         Page 2 of 3
Date Rcvd: Oct 01, 2020                                            Form ID: pdf001                                                       Total Noticed: 43
15907552              + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:12:46     CAPITAL ONE, PO BOX 30285, SALT LAKE
                                                                                                            CITY UT 84130-0285
15948439                 Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:14:56     Capital One Bank (USA), N.A., by American
                                                                                                            InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                            28272-1083
15907557                 Email/Text: mrdiscen@discover.com
                                                                                   Oct 02 2020 02:05:00     DISCOVER, PO BOX 30943, SALT LAKE CITY
                                                                                                            UT 84130
15918060                 Email/Text: mrdiscen@discover.com
                                                                                   Oct 02 2020 02:05:00     Discover Bank, Discover Products Inc, PO Box
                                                                                                            3025, New Albany, OH 43054-3025
15907558              + Email/Text: bankruptcyalerts@forwardfinancing.com
                                                                                   Oct 02 2020 02:05:00     FORWARD FINANCING LLC, 100 SUMMER
                                                                                                            ST, STE 1175, BOSTON MA 02110-2138
15907562                 Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Oct 02 2020 02:06:00     INTERNAL REVENUE SERVICE, PO BOX
                                                                                                            7346, PHILADELPHIA PA 19101-7346
15907564                 Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:14:55     JPMORGAN CHASE BANK NA, 4031 N
                                                                                                            SCOTTSDALE RD, SCOTTSDALE AZ 85251
15907563                 Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:13:52     JPMORGAN CHASE BANK NA, 700 KANSAS
                                                                                                            LANE, MONROE LA 71903
15907565                 Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:12:45     JPMORGAN CHASE BANK, NA, PO BOX
                                                                                                            15298, WILMINGTON DE 19850-5298
15907566                 Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                   Oct 02 2020 02:13:52     JPMORGAN CHASE BANK, NA, PO BOX
                                                                                                            659754, SAN ANTONIO TX 78265-9754
15907568              + Email/Text: bankruptcy@ondeck.com
                                                                                   Oct 02 2020 03:27:00     ONDECK, 1400 BROADWAY, NEW YORK NY
                                                                                                            10018-5300
15921808              + Email/Text: bankruptcy@ondeck.com
                                                                                   Oct 02 2020 03:27:00     On Deck Capital, Inc., c/o Christine Levi, 101
                                                                                                            West Colfax Ave., 10th Floor, Denver, CO
                                                                                                            80202-5167
15907570              + Email/Text: bankruptcynotices@sba.gov
                                                                                   Oct 02 2020 02:05:00     U.S. SMALL BUSINESS ADMINISTRATION,
                                                                                                            409 3RD ST, SW, WASHINGTON DC
                                                                                                            20416-0005
16175180              + Email/Text: ustpregion14.px.ecf@usdoj.gov
                                                                                   Oct 02 2020 02:06:00     United States Trustee, 230 N 1st Ave #204,
                                                                                                            Phoenix, AZ 85003-0605
15907571              + Email/Text: money@yelp.com
                                                                                   Oct 02 2020 03:27:00     YELP, INC., 140 NEW MONTGOMERY
                                                                                                            STREET, SAN FRANCISCO CA 94105-3822

TOTAL: 20


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason    Name and Address
cr              *                FC MARKETPLACE, LLC, C/O BECKET AND LEE LLP, PO BOX 3002, MALVERN, PA 19355-0702
15907554        *                CHRISTOPHER & REBECCA DEMUTH, 8407 E ORANGE BLOSSOM LN, SCOTTSDALE AZ 85250-7424
15984423        *+               JPMorgan Chase Bank, N.A., c/o Ball, Santin & McLeran, PLC, 2999 N. 44th Street, Suite 500, Phoenix, AZ 85018-7252
15957836        *+               JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank USA, N.A., c/o National Bankruptcy Services, LLC, P.O. Box 9013, Addison,
                                 Texas 75001-9013

TOTAL: 0 Undeliverable, 4 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.




        Case 2:20-bk-00020-DPC Doc 73 Filed 10/01/20 Entered 10/03/20 22:51:32                                                               Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0970-2                                              User: estrellam                                                        Page 3 of 3
Date Rcvd: Oct 01, 2020                                           Form ID: pdf001                                                      Total Noticed: 43

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 03, 2020                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 1, 2020 at the address(es) listed
below:
Name                             Email Address
ADAM 1 NACH
                                 on behalf of Creditor DeRito Talking Stick South LLC adam.nach@lane-nach.com,
                                 tturner@lane-nach.com,sheila.rochin@lane-nach.com,danica.kolb@lane-nach.com,deborah.mckernan@lane-nach.com

DAVID A. BIRDSELL
                                 ecf@azbktrustee.com dbirdsell@ecf.epiqsystems.com,az15@ecfcbis.com

DAVID A. BIRDSELL
                                 on behalf of Trustee DAVID A. BIRDSELL ecf@azbktrustee.com dbirdsell@ecf.epiqsystems.com,az15@ecfcbis.com

JENNIFER A. GIAIMO
                                 on behalf of U.S. Trustee U.S. TRUSTEE Jennifer.A.Giaimo@usdoj.gov

KRYSTAL MARIE AHART
                                 on behalf of Debtor SCOTTSDALE PET SUITE LLC Krystal.Ahart@azbk.biz
                                 jfkpcecf@gmail.com,ahartkr68748@notify.bestcase.com,KrystalAhart@cox.net

THEODORE P. WITTHOFT
                                 on behalf of Trustee DAVID A. BIRDSELL twitthoft@wdlawpc.com abourassa@wdlawpc.com


TOTAL: 6




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